         Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 1 of 8




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                           X

 UNITED STATES OF AMERICA,

                    - against-
                                                                        S1 19 Cr. 725 (JPO)

 LEV PARNAS,
 IGOR FRUMAN, and
 ANDREY KUKUSHKIN,

                                       Defendants


                                                            X

                 DECLARATION OF GERALD B. LEFCOURT, ESQ.,
            PURSUANT TO 28 U.S.C. §1746 AND S.D.N.Y. LOCAL RULE 2 (B)

       I, Gerald B. Lefcourt, hereby declare pursuant to the provisions of 28 U.S.C. §1746 and

S.D.N.Y. Local Rule 2 (B), and under penalty of perjury, that the following is true and correct:

       1.      I am an attorney at law, admitted to practice before the courts of the state of New

York and inter alia, the United States District Court for the Southern District of New York.

       2.      Gerald B. Lefcourt, P.C., of which I am a principal, is counsel of record to

Andrey Kukushkin, a defendant in this matter. I make this declaration to present certain facts

which are used in support of Mr. Kukushkin’s Pretrial Motions and are discussed in the

accompanying Memorandum of Law.

       FACTS RELEVANT TO THE MOTION TO DISMISS AND TO SUPPRESS

       3.      In or about 2018, Lev Parnas, Igor Fruman, David Correia, Andrey Kukushkin

and others were forming a cannabis business (the “Cannabis Venture”). As is typically the case

when forming a venture such as this, Messrs. Parnas, Fruman, Correia, Kukushkin and the others
Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 2 of 8
Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 3 of 8
           Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 4 of 8




informed the government that Mr. Kukushkin’s accounts may contain attorney-client privileged

communications and asked whether a filter team had been set up to assure no attorney-client

privileged communications were reviewed or turned over to the government’s trial team or to the

defense.

       15.     In addition, my office provided a preliminary list of email addresses for attorneys

with whom Mr. Kukushkin enjoyed an attorney-client relationship and whose correspondence

likely appeared in the email and Apple accounts in question. Two email addresses on that list

were for                 The                  Email was addressed to one of those two email

addresses.

       16.     In early December 2019, a second list of attorneys with whom Mr. Kukushkin

maintained an attorney-client relationship was provided to the government. Included on that list

was at least one attorney from the law firm                             Attorneys from

                          sent and/or received emails contained within The Chain.

       17.     In January 2020, the government contacted my office to advise that the filter team

had seen communications between Mr. Kukushkin and two attorneys at

     that had not been on our first two lists. These attorneys

             The government inquired as to whether Mr. Kukushkin maintained an attorney-

client relationship with these attorneys. The government was told that Mr. Kukushkin did in fact

have an attorney-client relationship with both attorneys and that he was asserting privilege with

respect to communications with them. Notably,               sent and/or received various emails

within The Chain.

       18.     In addition, the government was provided with names of other attorneys at

                     with whom Mr. Kukushkin enjoyed an attorney-client relationship and



                                                 -4-
         Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 5 of 8




asserted his attorney-client privilege with respect to those communications. Included on that list

was                           another attorney who sent and/or received emails in The Chains.

       19.     Also in January 2020, the government advised counsel for Messrs. Fruman,

Correia and Kukushkin that materials Mr. Parnas was seeking to turnover to Congress as part of

the impeachment proceedings were covered by a jointly held attorney-client privilege related to

their lawful cannabis business. In response, Messrs. Fruman, Correia and Kukushkin lodged

objections to Mr. Parnas’ application on that basis. Dkt. 80, 81, 85.

       20.     In February 2020, my office further raised privilege issues with the government.

More specifically, (a) the defendants’ emails accounts contained communications protected by

the attorney-client privilege, including in some cases, a jointly held privilege relating to their

Cannabis Venture; and (b) the                   Email, which had been quoted in the indictment

and various search warrants, may be privileged. In addition, we requested information as to

whether the                 Email had been reviewed by a filter team prior to being presented to

the grand jury. In response, the government asked the basis for the defendants’ assertion of the

privilege along with a litany of questions concerning the defendants’ relationships with various

attorneys and advisors on The Chain.

       21.     My office further inquired about the government’s filter team procedures, the

extent of the government’s invasion of the privilege, the basis for the government’s violation of

Mr. Kukushkin’s attorney-client privilege, and expressed bewilderment at the government’s

suggestion that there was any basis to conclude that The Chain or any email within it, including

the                Email, was not privileged.




                                                   -5-
         Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 6 of 8




       22.     The government posited that the privilege had been broken

                                   along with several other possible grounds for contending the

               Email wasn’t privileged.

       23.     In or about March (as well as in July and August) 2020,

                                                    asserted the attorney-client privilege with

respect to every email contained within The Chain, including the                   Email. See Ex.

A.



       24.     At the end of April 2020, the government contacted counsel for all defendants and

informed us that from August to December 2018, certain attorneys




                    Further, the defense was informed that the government was considering

seeking a ruling that these communications were not privileged and/or subject to the crime-fraud

exception. In response, Messrs. Kukushkin, Fruman, and Correia maintained that the emails

were privileged, and no exception applied. To my knowledge, the government never made an

application to the Court for a privilege ruling.

       25.     In or about May 2020, the government sought and obtained a search warrant for

                                       The                 Email was quoted in the probable cause

affidavit. See Ex. G.

       26.




                                                   -6-
          Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 7 of 8




         27.




         28.     In September 2020, the Superseding Indictment was returned without any

mention of the                  Email.

         29.     In October 2020, in response to an inquiry by the defendants, the government

again asserted that the                  Email,

was not privileged, although the government did not know if it intends to use it at trial. The

government did not identify any grounds for its contention.

         30.     In November 2020, in response to direct questions posed by the defense, the

government refused to identify on what basis it claimed that the                       Email was not

privileged, insisting only that it is the defendants’ burden to establish privilege.

         FACTS RELEVANT TO THE MOTION FOR A FOREIGN DEPOSITION

         31.     I have maintained a relationship with counsel for Foreign National-1 since shortly

after the initial indictment was unsealed.

         32.     During that time, I have had several conversations with him, all pursuant to a joint

defense agreement and a common interest privilege. Without disclosing any facts inconsistent

with that agreement or the privilege, based on those discussions, it is my understanding that

Foreign National-1 will not come to the United States voluntarily to testify at Mr. Kukushkin’s

trial.




                                                   -7-
           Case 1:19-cr-00725-JPO Document 160 Filed 12/23/20 Page 8 of 8




                             RULE 16.1 COMPLIANCE FACTS

       33.     Consistent with FED. R. CRIM. P. RULE 16.1, defense counsel made written

demands for, and met and conferred with the government concerning the production of

additional Brady material, as well as Exhibits, 3500 material, and Giglio material and the timing

thereof.

       34.     An agreement between the parties could not be reached.

                 IDENTIFICATION OF EXHIBITS ANNEXED HERETO

       35.     Annexed hereto are true copies of the following documents, with the letter prefix

corresponding to the Exhibit letter designation:

           A. Government’s Brady Disclosure dated September 24, 2020.

           B. Government’s Brady Disclosure dated October 28, 2020.

           C. Government’s Brady Disclosure dated November 24, 2020.

           D. Chart of Search Warrant Applications citing, referencing, incorporating by
              reference, or relying upon in any manner attorney-client privileged
              communications of the defendants.

           E. Search Warrant to         and Apple, Inc. dated October 22, 2019.

           F. Search Warrant for Mr. Kukushkin’s iPhone dated November 13, 2019.

           G. Search Warrant to         dated May 4, 2020.

           H. Mr. Kukushkin’s demand for a Bill of Particulars dated November 19, 2020

           I. Government’s response to Mr. Kukushkin’s demand for a Bill of Particulars dated
              November 24, 2020

December 1, 2020

                                             /s/    Gerald B. Lefcourt
                                               Gerald B. Lefcourt




                                                   -8-
 Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 1 of 10




                     Exhibit A
Government’s Brady Disclosure dated September 24,
                     2020
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 2 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 3 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 4 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 5 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 6 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 7 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 8 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 9 of 10
Case 1:19-cr-00725-JPO Document 160-1 Filed 12/23/20 Page 10 of 10
   Case 1:19-cr-00725-JPO Document 160-2 Filed 12/23/20 Page 1 of 3




                       Exhibit B
Government’s Brady Disclosure dated October 28, 2020
Case 1:19-cr-00725-JPO Document 160-2 Filed 12/23/20 Page 2 of 3
Case 1:19-cr-00725-JPO Document 160-2 Filed 12/23/20 Page 3 of 3
  Case 1:19-cr-00725-JPO Document 160-3 Filed 12/23/20 Page 1 of 4




                      Exhibit C
Government’s Brady Disclosure dated November 24,
                     2020
Case 1:19-cr-00725-JPO Document 160-3 Filed 12/23/20 Page 2 of 4
Case 1:19-cr-00725-JPO Document 160-3 Filed 12/23/20 Page 3 of 4
Case 1:19-cr-00725-JPO Document 160-3 Filed 12/23/20 Page 4 of 4
    Case 1:19-cr-00725-JPO Document 160-4 Filed 12/23/20 Page 1 of 2




                        Exhibit D
Chart of Search Warrant Applications citing, referencing,
incorporating by reference or relying upon in any manner
    attorney-client privileged communications of the
                        defendants
Case 1:19-cr-00725-JPO Document 160-4 Filed 12/23/20 Page 2 of 2
   Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 1 of 74




                        Exhibit E
Search Warrant to              and Apple, Inc. dated October
                             22, 2019
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 2 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 3 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 4 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 5 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 6 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 7 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 8 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 9 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 10 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 11 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 12 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 13 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 14 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 15 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 16 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 17 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 18 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 19 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 20 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 21 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 22 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 23 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 24 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 25 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 26 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 27 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 28 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 29 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 30 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 31 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 32 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 33 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 34 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 35 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 36 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 37 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 38 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 39 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 40 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 41 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 42 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 43 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 44 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 45 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 46 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 47 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 48 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 49 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 50 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 51 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 52 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 53 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 54 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 55 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 56 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 57 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 58 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 59 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 60 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 61 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 62 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 63 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 64 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 65 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 66 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 67 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 68 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 69 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 70 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 71 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 72 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 73 of 74
Case 1:19-cr-00725-JPO Document 160-5 Filed 12/23/20 Page 74 of 74
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 1 of 30




                     Exhibit F
Search Warrant for Mr. Kukushkin’s iPhone dated
              November 13, 2019
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 2 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 3 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 4 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 5 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 6 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 7 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 8 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 9 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 10 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 11 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 12 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 13 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 14 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 15 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 16 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 17 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 18 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 19 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 20 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 21 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 22 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 23 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 24 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 25 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 26 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 27 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 28 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 29 of 30
Case 1:19-cr-00725-JPO Document 160-6 Filed 12/23/20 Page 30 of 30
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 1 of 29




                    Exhibit G
   Search Warrant to                 dated May 4, 2020
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 2 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 3 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 4 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 5 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 6 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 7 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 8 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 9 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 10 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 11 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 12 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 13 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 14 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 15 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 16 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 17 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 18 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 19 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 20 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 21 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 22 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 23 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 24 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 25 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 26 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 27 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 28 of 29
Case 1:19-cr-00725-JPO Document 160-7 Filed 12/23/20 Page 29 of 29
   Case 1:19-cr-00725-JPO Document 160-8 Filed 12/23/20 Page 1 of 3




                       Exhibit H
Mr. Kukushkin’s demand for a Bill of Particulars dated
                November 19, 2020
        Case 1:19-cr-00725-JPO Document 160-8 Filed 12/23/20 Page 2 of 3




                                                    November 19, 2020


VIA EMAIL

Rebekah Donaleski, Esq.
Nicolas Roos, Esq.
Douglas Zolkin, Esq.
Assistant United States Attorneys
United States Attorney’s Office
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007

                      Re: United States v. Kukushkin, et al., 19 Cr. 725 (S1)(JPO)

Dear Counsel:

        We write as counsel to Andrey Kukushkin to seek a Bill of Particulars pursuant to Rule
7(f) of the Federal Rules of Criminal Procedure. The particulars we seek are as follows:
       Count Four – The Foreign National Donor Scheme:
       1. With respect to paragraph 47 (b) of the Superseding Indictment, identify each alleged
          contribution or donation, or express or implied promise to make contributions or
          donations, directly or indirectly, by a foreign national in connection with federal and
          State elections, aggregating to $25,000 and more in a calendar year which the
          government contends Mr. Kukushkin and the other defendants conspired to make;
          and
        Case 1:19-cr-00725-JPO Document 160-8 Filed 12/23/20 Page 3 of 3




       2. With respect to paragraph 47 (c) of the Superseding Indictment, identify each alleged
          contribution to candidates for State and federal office, joint fundraising committee,
          and independent expenditure committee in the names of others aggregating to
          $25,000 and more in a calendar year which the government contends Mr. Kukushkin
          and the other defendants conspired to make.
       Count Six – Making a Contribution by a Foreign National
       1. With respect to paragraph 52 of the Superseding Indictment, identify each alleged
          contribution or donation or express and implied promise to make contributions or
          donations by a foreign national in connection with federal and State elections,
          aggregating to $25,000 and more in a calendar year the making of which the
          government contends Mr. Kukushkin and the other defendants aided and abetted.
        Thank you for your cooperation in this matter. If you have any questions, please do not
hesitate to call.


                                                    Very truly yours,



                                                    /s/ Gerald B. Lefcourt
                                                    Gerald B. Lefcourt
    Case 1:19-cr-00725-JPO Document 160-9 Filed 12/23/20 Page 1 of 4




                         Exhibit I
Government’s response to Mr. Kukushkin’s demand for a
     Bill of Particulars dated November 24, 2020
         Case 1:19-cr-00725-JPO Document 160-9 Filed 12/23/20 Page 2 of 4
                                           86'HSDUWPHQWRI-XVWLFH
 >7\SHWH[W@                              
                                          8QLWHG6WDWHV$WWRUQH\
                                          6RXWKHUQ'LVWULFWRI1HZ<RUN


                                                         7KH6LOYLR-0ROOR%XLOGLQJ
                                           2QH6DLQW$QGUHZ¶V3OD]D
                                           1HZ<RUN1HZ<RUN


                                                          1RYHPEHU

%<(0$,/

*HUDOG%/HIFRXUW(VT
)DLWK)ULHGPDQ(VT
%URDGZD\6XLWH
1HZ<RUN1<
(PDLOOHIFRXUW#OHIFRXUWODZFRP
(PDLOIIULHGPDQ#OHIFRXUWODZFRP

  5H 8QLWHG6WDWHVY$QGUH\.XNXVKNLQ1R6&U -32 

'HDU&RXQVHO

        :HZULWHLQUHVSRQVHWR\RXUUHTXHVWIRUDELOORISDUWLFXODUVGDWHG1RYHPEHULQ
ZKLFK\RXUHTXHVWWKDWZHLGHQWLI\FRQWULEXWLRQVGRQDWLRQVDQGH[SUHVVRULPSOLHGSURPLVHVWR
PDNHFRQWULEXWLRQVRUGRQDWLRQVDOOHJHGLQWKH6XSHUVHGLQJ,QGLFWPHQW
        
        $ ELOO RI SDUWLFXODUV LV XQZDUUDQWHG LQ WKLV FDVH EHFDXVH WKH *RYHUQPHQW KDV PRUHWKDQ
VDWLVILHGLWVREOLJDWLRQVWRSURYLGHWKHGHIHQVHZLWKVXIILFLHQWLQIRUPDWLRQWR³SUHSDUHIRUWULDOWR
SUHYHQWVXUSULVHDQGWRLQWHUSRVHDSOHDRIGRXEOHMHRSDUG\VKRXOG>WKHGHIHQGDQW@EHSURVHFXWHG
D VHFRQG WLPH IRUWKH VDPH RIIHQVH´  8QLWHG 6WDWHV Y %RUWQRYVN\  )G   G &LU
   7KH 6XSHUVHGLQJ ,QGLFWPHQW FRQWDLQV D FRQFLVH DQG GHILQLWH ZULWWHQ VWDWHPHQW RI WKH
HVVHQWLDOIDFWVFRQVWLWXWLQJWKHRIIHQVHVFKDUJHGDQGLWLGHQWLILHVWKHFRQWULEXWLRQVDQGGRQDWLRQV
WKDWWKH*RYHUQPHQWH[SHFWVWRSURYHDWWULDO L EHWZHHQPLOOLRQDQGPLOOLRQ LQSODQQHG
FRQWULEXWLRQV OLVWHG RQ D WDEOH RI GRQDWLRQV DQG FRQWULEXWLRQV VHH 6 ,QGLFWPHQW    LL 
FRQWULEXWLRQVWKDWKDGSUHYLRXVO\EHHQFKDUJHGRQFUHGLWFDUGVEHORQJLQJWR,JRU)UXPDQDQGRU
/HY3DUQDV VHHLG DQG LLL WZRGRQDWLRQVWRFDQGLGDWHV LQ1HYDGDRQRUDERXW
1RYHPEHU VHHLG ,QDGGLWLRQWRWKH6XSHUVHGLQJ,QGLFWPHQW\RXDUHLQSRVVHVVLRQRI
DPRQJRWKHUWKLQJV L QXPHURXVVHDUFKZDUUDQWDIILGDYLWVWKDWRXWOLQHHYLGHQFHUHYHDOHGGXULQJ
WKH*RYHUQPHQW¶VLQYHVWLJDWLRQRYHUWLPHLQFOXGLQJUHOHYDQWHPDLOVDQGILQDQFLDOUHFRUGV LL WKH
FRQWHQWVRI\RXUFOLHQW¶VFHOOSKRQHDQGHPDLODQGL&ORXGDFFRXQWV LLL WKHVHL]HGPDWHULDOVIURP
WKHRWKHU GHIHQGDQWV¶ HPDLO DQG L&ORXG DFFRXQWV FHOOSKRQHV DQG FRPSXWHUV LY  EDQN UHFRUGV
UHODWLQJ WR WKH DERYHUHIHUHQFHG FRQWULEXWLRQV DQG GRQDWLRQV Y  SXEOLFO\DYDLODEOH )HGHUDO
(OHFWLRQ &RPPLVVLRQ UHFRUGV DV ZHOO DV UHFRUGV SURGXFHG E\ VRPH RI WKH FDQGLGDWHV DQG
FDPSDLJQVDQG YL FRSLHVRIDOORIWKHHPDLOVWH[WPHVVDJHVDQGGRFXPHQWVUHIHUHQFHGLQWKH
6XSHUVHGLQJ,QGLFWPHQW:LWKHDFKRIRXUGLVFRYHU\SURGXFWLRQVZHKDYHSURYLGHGDQLQGH[DQG
DVZHKDYHRIIHUHGRQPXOWLSOHRFFDVLRQVZHDUHDYDLODEOHWRDQVZHUDQ\TXHVWLRQV\RXPD\KDYH
DERXWGLVFRYHU\

        Case 1:19-cr-00725-JPO Document 160-9 Filed 12/23/20 Page 3 of 4

                                                                                November 24, 2020
                                                                                           Page 2

        The Superseding Indictment and the materials produced during discovery provide you with
more than ample information concerning the allegations that the Government intends to prove at
trial and the supporting evidence. See, e.g., United States v. Reinhold, 994 F. Supp. 194, 201
(S.D.N.Y. 1998) (denying request for bill of particulars where the “indictment is detailed in its
allegations” and the “defendants have had extensive discovery”); United States v. Pacheco, 902 F.
Supp. 469, 475 (S.D.N.Y. 1995) (denying request for bill of particulars because “the charges are
adequately set forth in the indictment, the criminal complaint, and in discovery”); United States v.
Conesa, 899 F. Supp. 172, 176 (S.D.N.Y. 1995) (denying request for bill of particulars because
“[t]he Indictment sufficiently advises defendants of the specific acts of which they are accused”
and “the Government . . . has made available to defense counsel extensive discovery that
supplements the information provided in the . . Indictment”).

        Your request asks for additional evidentiary details and for us to further articulate the
theory or theories of the Government’s case. But it is settled law that “[a]cquisition of evidentiary
details is not the function of the bill of particulars.” United States v. Torres, 901 F.2d 205, 234
(2d Cir. 1990). Nor may a bill of particulars be used as a general investigative tool. “It is not
enough that the information would be useful to the defendant; if the defendant has been given
adequate notice of the charges against him, the government is not required to disclose additional
details about its case.” United States v. Payden, 613 F. Supp. 800, 816 (S.D.N.Y. 1985); see also,
e.g., United States v. Sindone, No. 01 Cr. 517 (MBM), 2002 WL 48604, at *1 (S.D.N.Y. Jan. 14,
2002) (a defendant may not “use a bill of particulars to preview the government’s evidence or trial
strategy, or to require the government to specify the minutiae of how it will prove the charges.”
(citations omitted)); United States v. Guerrerio, 670 F. Supp. 1215, 1225 (S.D.N.Y. 1987) (A bill
of particulars “is not a discovery tool and is not intended to allow defendants a preview of the
evidence or the theory of the government’s case.”). Rather, a bill of particulars is required “only
when the charges of the indictment are so general that they do not advise the defendant of the
specific acts of which he is accused.” United States v. Torres, 901 F.2d at 234. In light of the
Superseding Indictment and the discovery disclosures, there is no colorable argument that the
defendant is unaware of the acts of which he has been accused.

        Based on the foregoing, you are not entitled to the particulars sought through your requests
as they amount to requests for the sort of precise evidentiary detail and information concerning the
Government’s theory of its case that are not the proper function of a bill of particulars, and in any
event, much of what you seek is described in the Superseding Indictment and discovery. If you
have authority for your requests, we would be happy to consider it.

        Notwithstanding the foregoing, while we are not required to do so, in an effort to aid in
your review of the discovery, and to assist you in preparing for trial, the Government is voluntarily
providing additional information regarding certain of your requests. By voluntarily providing this
information, the Government is not limiting its evidence, arguments or legal theories at trial to
what is set forth below. This is not an exhaustive identification of potential information or
evidence related to these specific requests, but rather a roadmap to assist with your review of
discovery in light of your specific requests. In addition, as we have stated previously, the
investigation is ongoing.
          Case 1:19-cr-00725-JPO Document 160-9 Filed 12/23/20 Page 4 of 4

                                                                                November 24, 2020
                                                                                           Page 3

      •   Multiple copies and drafts of the “Political Donations Table” referenced in paragraph 22
          of the Superseding Indictment were produced in discovery, including at USAO_00084470-
          USAO_00084472;            USAO_00084474-USAO_00084476;                 USAO_00090126-
          USAO_00090128; USAO_00094241-USAO_00094244; and                        USAO_00094246-
          USAO_00094248.

      •   Records for the credit card accounts used to pay for contributions and donations referenced
          in paragraph 24 of the Superseding Indictment were produced in discovery at
          USAO_00107954-USAO_00108873.

      •   Records produced by the candidates referenced in paragraph 24 of the Superseding
          Indictment were produced in discovery at USAO_00102503-USAO_00103402 and
          USAO_00143857.

          Please let us know if you have any questions or would like to discuss the foregoing.


                                               Very truly yours,

                                               AUDREY STRAUSS
                                               Acting United States Attorney for the
                                               Southern District of New York

                                            By: _____/s/_____________________
                                                Nicolas Roos
                                                Rebekah Donaleski
                                                Douglas Zolkind
                                                Assistant United States Attorneys
                                                (212) 637-2421/2423/2418



Cc:       Joseph Bondy, counsel for Lev Parnas
          Todd Blanche, counsel for Igor Fruman
